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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division


VICTOR GILMORE,

v.                                                          Civil Action No. 2:18cv634


TARIQ K. LOUKA, ESQUIRE, et al.


              DEFENDANT LOUKA’S MOTION TO DISMISS COMPLAINT

       COMES NOW defendant Tariq Louka, by counsel, and moves this court to dismiss

this action pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure

for want of subject matter jurisdiction and for failing to state a claim upon which relief may

be granted for the reasons fully explained in the accompanying brief in support.



NOTICE TO PRO SE PLAINTIFF:

       In accordance with Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), take notice

and be warned that a motion dispositive of this action has been filed. As such:

       (1) The pro se party is entitled to file a response opposing the motion and that any

such response must be filed within twenty-one (21) days of the date on which the

dispositive or partially dispositive motion is filed; and

       (2) The Court could dismiss the action on the basis of the moving party's papers if

the pro se party does not file a response; and

       (3) The pro se party must identify all facts stated by the moving party with which the

pro se party disagrees and must set forth the pro se party's version of the facts by offering

affidavits (written statements signed before a notary public and under oath) or by filing
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sworn statements (bearing a certificate that it is signed under penalty of perjury); and

       (4) The pro se party is also entitled to file a legal brief in opposition to the one filed

by the moving party.



                                            TARIQ K. LOUKA

                                                       /s/
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                                      CERTIFICATE

        I hereby certify that on the 28th day of Febrary, 2019, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF. system, which will then send a
notification of such filing to the following:

Ronald Scott Canter
The Law Offices of Ronald S. Canter, LLC
200A Monroe Street
Suite 104


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I will also this day mail a copy of the forgoing to the following non-ECF users:

Victor Gilmore
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Portsmouth, VA 23704

                                                       /s/
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